     Case 1:12-cr-00168-DAD-BAM Document 73 Filed 11/20/14 Page 1 of 3


1    Carolyn D. Phillips #103045
2    Attorney at Law
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3    Fresno, California 93755-5622
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4
     Attorney for defendant Shirley Davidson
5

6
                 IN THE UNITED STATES DISTRICT COURT IN AND FOR
7
                        THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,            )    Case No. 1:12-cr-00168-AWI-BAM
10
                                          )
                                          )    STIPULATION TO CONTINUE TRIAL
11
                        Plaintiff,        )    TO MARCH 10, 2015 AND ORDER
                                          )    THEREON
12
     v.                                   )
                                          )    New Date: March 10, 2015
13
     SHIRLEY DAVIDSON, et al.,            )    Time: 8:30 a.m.
                                          )    Hon. Anthony W. Ishii
14
                        Defendants.       )
     ___________________________________ )
15
           IT IS HEREBY STIPULATED by and between the parties hereto,
16
     and through the respective attorneys of record herein, to reset
17
     the trial above captioned matter, from January 13, 2015 to March
18
     10, 2015, at 8:30 a.m.
19
           Counsel for defendant Shirley Davidson requires additional
20
     time for further investigation, and to consult with her client.
21   Ms. Davidson’s severely declining health and need for medical
22   treatment has increasingly impeded communications between her

23

                                                                                1
     Case 1:12-cr-00168-DAD-BAM Document 73 Filed 11/20/14 Page 2 of 3


1    and counsel.     It is anticipated that medical treatment and/or
2
     surgery for uterine cancer will be scheduled within the next 90
3    days. Ms. Davidson suffers from symptoms including pain and

4    discomfort, making it impossible for Ms. Davidson to sit for any

5    length of time, walk more than short distances, travel, or focus

6    on her case.     These conditions impede counsel’s trial

     preparation, attorney-client conferences and advisements.           For
7
     these reasons counsel seeks a continuance of the current trial
8
     date.   The parties have agreed to continue the trial to March
9
     10, 2015.
10
           For purpose of computing time under the Speedy Trial Act,
11
     18 U.S.C. §3161, et seq., within which trial must commence, the
12
     time period of January 13, 2015 through March 10, 2015,
13   inclusive, is deemed excludable because it results from a

14   continuance granted by the Court at defendant’s request on the

15   basis of the Court’s finding that the ends of justice served by

16   taking such action outweigh the best interest of the public and

17   the defendant in a speedy trial.

                 So stipulated.
18
     Dated: November 18, 2014            /s/ Carolyn D. Phillips
19
                                       CAROLYN D. PHILLIPS
                                       Attorney for Shirley Davidson
20

21
     Dated: November 18, 2014          /s/ James Homola
22
                                       JAMES HOMOLA
23

                                                                               2
     Case 1:12-cr-00168-DAD-BAM Document 73 Filed 11/20/14 Page 3 of 3


1                                             Attorney for James Davidson
2

3    Dated: November 18, 2014                  BENJAMIN B. WAGNER
                                               United States Attorney
4

5                                       By:    /s/Grant B. Rabenn
                                               GRANT B. RABENN
6                                              Attorneys for the United States.

7

8
                                              ORDER
9
     IT IS ORDERED, that the trial date in the above-entitled matter currently set to begin
10
     January 13, 2015, shall be continued to March 10, 2015. The Trial Confirmation and
11
     Motions in Limine Hearing currently set for December 22, 2014, shall be continued to
12
     February 23, 2015.
13

14   IT IS SO ORDERED.

     Dated: November 19, 2014
15
                                              SENIOR DISTRICT JUDGE
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